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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

 LEE MEMORIAL HEALTH SYSTEM,

                      Plaintiff,

 v.                                          Case No. 8:16-cv-02320-JSM-AAS

 BLUE CROSS AND BLUE SHIELD OF
 FLORIDA, INC., AND HORIZON
 HEALTHCARE SERVICES, INC.
 D/B/A BLUE CROSS BLUE SHIELD OF NEW
 JERSEY, HORIZON BLUE CROSS BLUE
 SHIELD OF NEW JERSEY AND HORIZON
 BCBSNJ

                      Defendants.

                                                    I

                         MOTION FOR REMAND
          AND INCORPORATED MEMORANDUM OF LEGAL AUTHORITY

       Plaintiff, Lee Memorial Health System ("Lee Memorial"), by and through its undersigned

 counsel and pursuant to 28 U.S.C. §§1331 and 1447, moves this Court for an order remanding

this action in its entirety to the Circuit Court of the Twentieth Judicial Circuit in and for Lee

County, Florida where the action was originally filed as Case No. 2016-CA-001878 ("State

Court Case"). As grounds for this motion, Lee Memorial shows the following:

                             BASIS FOR REQUESTED RELIEF

       Lee Memorial is a special unit of local government operating a health care system in Lee

County, Florida. Defendant, Blue Cross and Blue Shield of Florida, Inc. ("BCBSF"), is a Florida

corporation with its principal place of business in Duval County, Florida. Defendant, Healthcare

Services, Inc. d/b/a Blue Cross Blue Shield of New Jersey, Horizon Blue Cross Blue Shield of
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 New Jersey and Horizon BCBSNJ ("BCBSNJ") is a New Jersey corporation with its principal

 place of business in Newark, New Jersey.

         On October 1, 1985, Lee Memorial entered into a Preferred Patient Care Hospital

 Agreement ("Agreement") with BCBSF whereby, in consideration of payment by BCBSF in

 accordance with the terms of the Agreement, Lee Memorial would provide hospital services to

 policyholders of BCBSF. See Affidavit of Anne Rose ("Rose Aff."), filed contemporaneously

 with this motion, at ¶5. Approximately 39 amendments to the Agreement have been executed.

 Id. at ¶6. Pursuant to the Tenth Amendment to Agreement dated November 22, 1994, Lee

 Memorial agreed, in pertinent part, as follows:

         [HOSPITAL, i.e. Lee Memorial,] acknowledges and agrees that it has not entered
         into this Agreement based upon representations by any person other than BLUE
         CROSS AND BLUE SHIELD[, i.e. BCBSF,] and that no person, entity, or
         organization other than BLUE CROSS AND BLUE SHIELD shall be held
         accountable or liable to HOSPITAL for any of BLUE CROSS AND BLUE
         SHIELD'S obligations to HOSPITAL created under this Agreement.

 Id. at ¶7.

         Under the Twentieth Amendment to Agreement dated December 9, 2008, BCBSF is

entitled to pay Lee Memorial in accordance with the negotiated rates called for by the Agreement

in the event that Lee Memorial provides covered services to a policyholder of a "sister Blue

Cross and/or Blue Shield Plan" (which is described in the amendment as a "Plan [organized as]

an independent corporation operating under a license or sub-license with the Blue Cross and

Blue Shield Association").1 Id. at ¶8. Information concerning the nature, manner, and extent of


  In this regard, the Twentieth Amendment to Agreement entered into on December 9, 2008 states:

        It is further agreed that BLUE CROSS AND BLUE SHIELD [BCBSF] is entitled to treat
        individuals covered through sister Blue Cross and/or Blue Shield Plans (i.e. each Plan an
        independent corporation operating under a license or sub-license with the Blue Cross and Blue
        Shield Association) as Policyholders under this Agreement. Such individuals being treated as
        being covered under a PREFFERRED PATIENT CARE Benefit Agreement or other benefit
        agreement which provides access to participating providers in either the PREFFERRED
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 the reimbursement, if any, that is paid to BCBSF by any sister Blue Cross and/or Blue Shield

 Plan on account of hospital services that were provided by Lee Memorial to a policyholder of a

 sister Blue Cross and/or Blue Shield Plan is not shared by BCBSF with Lee Memorial. Id. at  9.
                                                                                         at ¶9.

        Heather Picardi, a policyholder of a sister Blue Cross and/or Blue Shield Plan, was

 admitted to Lee Memorial for treatment in conjunction with complications arising from her

 pregnancy. See Affidavit of Patricia O'Brien ("O'Brien Aff."), filed contemporaneously with this

 motion, at ¶5. On May 26, 2011 Heather Picardi, gave birth prematurely to a son. Id. at ¶6. Lee

 Memorial thereafter provided hospital services to the newborn who required extensive

 specialized medical treatment in order to survive birth. Id. at ¶7. In conjunction with the

 hospital services provided to both Heather Picardi and her newborn son, Lee Memorial obtained

authorization from BCBSF in accordance with the terms of the Agreement. Id. at ¶8. Lee

Memorial did not, however, obtain a written assignment of benefits as to the treatment provided

to the newborn. Id. at ¶9.

        Payment to Lee Memorial for the hospital services that were provided to the newborn

was ultimately denied based upon an alleged failure to timely coordinate benefits between two

sister Blue Cross and/or Blue Shield Plans for which the newborn was a covered dependent. Id.

at ¶11. Specifically, BCBSF contended that the newborn was a covered dependent of a sister

Blue Cross and/or Blue Shield Plan for which the mother was a member and (unbeknownst to

Lee Memorial at the time of admission) was also a covered dependent of a separate and distinct

sister Blue Cross and/or Blue Shield Plan for which the father was a member. Id. at ¶12.

According to BCBSF, Lee Memorial's claim form should have identified the sister Blue Cross


       PATIENT CARE network or NetworkBlue network whichever is applicable....Payment for
       covered services provided to such Policyholders shall be in accordance with Exhibit D
       PREFERRED PATIENT CARE if the Policyholder is entitled to access the PREFERRED
       PATIENT CARE network or in accordance with Exhibit D NETWORK BLUE if the Policyholder
       is entitled to access the NetworkBlue network.
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 and/or Blue Shield Plan for which the father was a member and which provided primary

 coverage, but the claim form mistakenly identified the sister Blue Cross and/or Blue Shield Plan

 for which the mother was a member and which provided secondary coverage. Id. at ¶13. Lee

 Memorial was not made aware of this by BCBSF, however, until after numerous and extensive

 errors and delays by BCBSF in processing the claim form and material misrepresentations and

 omissions by BCBSF that are described with particularity in paragraphs 16-24 of the complaint.

 Id. at ¶14. In fact, BCBSF ultimately notified Lee Memorial that, because of the extensive

 delays that had occurred in the processing of the claim by BCBSF and/or its sister Blue Cross

 and/or Blue Shield Plan, it was too late for Lee Memorial to correct the claim form in order to

 identify the sister Blue Cross and/or Blue Shield Plan for which the father was a member and

which BCBSF deemed to be primary. Id. at ¶15. BCBSF ultimately denied payment based upon

an alleged failure to timely coordinate benefits. Id.

        Coordination of benefits is dealt with extensively in both the Agreement and amendments

thereto as well as in hospital provider manuals that are published by BCBSF and given to the

hospitals that participate in the BCBSF network in order to provide guidelines and requirements

for the processing and payment of claims in a managed care setting. See Rose Aff. at ¶10. Lee

Memorial relies upon BCBSF to establish such guidelines and requirements relating to

coordination of benefits and to administer them in such fashion as to fulfill Lee Memorial's

reasonable expectation to be paid for providing covered services to the subscribers of BCBSF

and any of its sister Blue Cross and/or Blue Shield Plans. Id. at ¶11. Lee Memorial has

sustained damages on account of the failure of BCBSF to properly discharge its legal duties

owed to Lee Memorial under the Agreement and Florida law and/or the failure of a sister Blue
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 Cross and/or Blue Shield Plan to properly discharge such duties which were delegated to it by

 BCBSF.

        Based upon the foregoing, Lee Memorial properly filed its complaint in state court

 against the defendants, BCBSF and BCBSNJ. In the complaint, Lee Memorial alleges as

 follows:

        1.     Count I for an order declaring the rights and liabilities of all of the parties under

 the Agreement, as amended, for payment of the medical services described above;

        2.     Count II for breach of the Agreement by BCBSF;

        3.     Count III for promissory/equitable estoppel against BCBSF and BCBSNJ for

 repeated misrepresentations to Lee Memorial that coverage for the hospital services provided to

 Nicholas Picardi had been accepted and that the claim would be paid;

        4.     Count IV for negligent misrepresentation by BCBSF and BCBSNJ as a

 consequence of their false statements of material fact when they represented to Lee Memorial

that coverage for the hospital services provided to Nicholas Picardi had been approved and that

payment would be forthcoming, when, in fact, BCBSF and BCBSNJ failed to conduct a

reasonable and timely investigation of Lee Memorial's claim for payment for hospital services

provided to Nicholas Picardi and to promptly notify Lee Memorial as to any policy defenses,

coverage exclusions, or other matters affecting the ability of Lee Memorial to ultimately receive

payment for covered claims;

        5.     Count V against BCBSF for breach of its fiduciary duty under the Agreement in

the following respects:

               a)     Failing to timely authorize medical care for Nicholas Picardi;
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                 b)     Failing to timely process claims for payment arising from the medical care

                        of Nicholas Picardi;

                 c)     Misinforming Lee Memorial as to the eligibility of Nicholas Picardi to

                        receive covered services at Lee Memorial;

                 d)     Wrongfully refusing to pay claims for covered services provided to

                        Nicholas Picardi; and

                 e)     Denying claims for covered services in order to advance the financial

                        interests of BCBSF and BCBSNJ to the detriment of Lee Memorial;

        6.       Count VI for unjust enrichment against BCBSF and BCBSNJ; and

        7.       Count VII for breach of implied covenants of good faith and fair dealing against

BCBSF under the Agreement.

        In the complaint, Lee Memorial sues in its independent capacity as a third party health

care provider and not in a derivative capacity as an assignee of the benefits of the beneficiary of

a health plan. In fact, Lee Memorial does not have an assignment of benefits in this case and,

therefore, could not sue in a derivative capacity if it wanted to do so. See O'Brien Aff. at TV -

10. The complaint does not allege any causes of action under the Employee Retirement Income

Security Act of 1974 ("ERISA"), 29 U.S.C. § 1001 et seq. BCBSF and BCBSNJ filed their joint

notice of removal on August 12, 2016 on the basis of federal question jurisdiction pursuant to 28

U.S.C. § 1331.

                         MEMORANDUM OF LEGAL AUTHORITY

       It was improper to have removed this case from state court. "In every case and at every

stage of a proceeding, a federal court must satisfy itself as to its jurisdiction over a matter." See,

e.g., Standard Bank PLC v. Vero Ins. Ltd., No. 08—cv-2127—PAB—KLM , 2009 WL 4730474, at
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 *4 (D. Colo. Dec. 7, 2009) (citing Citizens Concerned for Separation of Church & State v. City

 & County of Denver, 628 F.2d 1289, 1297, 1301 (10th Cir.1980)). "The removal statute is

 strictly construed against removal jurisdiction." See, e.g., Boon v. Allstate Ins. Co., 229 F.

 Supp.2d 1016, 1019 (C.D. Cal. 2002) (citing Gaus v. Miles, 980 F.2d 564, 566 (9th Cir.1992)).

        Courts should strictly construe the requirements of removal jurisdiction and
        remand all cases in which such jurisdiction is doubtful. See Shamrock Oil & Gas
        Corp. v. Sheets, 313 U.S. 100, 109, 61 S.Ct. 868, 85 L.Ed. 1214 (1941). When the
        plaintiff and defendant clash on the issue of jurisdiction, uncertainties are resolved
        in favor of remand.

 Hernandez v. Publix Super Mkts., Inc., No. 14-20491—CIV., 2014 WL 1379141, at *3 (S.D. Fla.

 Apr. 9, 2014) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.1994)).

        BCBSF and BCBSNJ bear

        the burden of demonstrating complete preemption and, where jurisdiction is not
        absolutely clear, the Eleventh Circuit favors remand. Oskars, Inc. v. Bennett &
        Co., Inc., 132 F. Supp. 2d 1333, 1334 (M.D. Ala. 2001) (granting remand because
        plan not governed by ERISA) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092,
        1095 (11th Cir. 1994)); Allen v. Christenberry, 327 F.3d 1290, 1293 (11th Cir.
        2003) (removal statutes should be construed narrowly, and all doubts resolved in
        favor of remand). In meeting its burden, a defendant must provide facts justifying
        removal. See Hobbs v. Blue Cross Blue Shield of Ala., 276 F.3d 1236, 1242 (11th
        Cir. 2001) (remanding where health insurer failed to provide proof in support of
        removal).

See Sheridan Healthcorp, Inc. v. Aetna Health Inc., No. 15—cv-62590—BLOOM/Valle, 2016 WL

490264, at *3 (S.D. Fla. Feb. 9, 2016) (granting motion to remand). BCBSF and BCBSNJ have

not and cannot meet their burden of demonstrating complete preemption.

        28 U.S.C. §1441(a) states that "any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed ... to the district

court of the United States for the district and division embracing the place where such action is

pending." However, "[w]hether a federal question appears must ordinarily be determined on the

face of the plaintiff's well-pleaded complaint." S. Fla. Ear, Nose and Throat, PLLC v. Blue
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 Cross Blue Shield of Fla., Inc., No. 2:13—cv-178—FtM-29UAM, 2013 WL 6332968, at *2 (M.D.

 Fla. Dec. 5, 2013) (granting motion for remand of contract claim citing Conn. State Dental Ass'n

 v. Anthem Health Plans, Inc., 591 F.3d 1337, 1343 (11th Cir. 2009) (in turn citing Louisville &

 N.R. Co. v. Mottley, 211 U.S. 149, 152, 29 S.Ct. 42, 53 L.Ed. 126 (1908)). See also Miami

 Beach Cosmetic and Plastic Surgery Ctr. v. Blue Cross Blue Shield of Fla., Inc., 947 F. Supp. 2d

 1375, 1379 (S.D. Fla. 2013) (motion for remand granted for a cause of action based on oral

 contract between provider and insurer, BCBSF) (also citing Conn. State Dental, 591 F.3d at 1343

 (in turn citing Mottley, 211 U.S. at 152).

         In the case of ERISA, however, the doctrine of complete preemption has been recognized

 as a judicially-recognized exception to the well-pleaded complaint rule. See Conn. State Dental

 Ass'n., 591 F.3d at 1344; Riverside Med. Assocs. v. Humana, Inc., No. 06-61490-CIV-CORN,

 2006 WL 3827541, at *2 (S.D. Fla. Dec. 28, 2006). The Supreme Court in Aetna Health Inc. v.

 Davila, 542 U.S. 200, 210, 124 S.Ct. 2488, 159 L.Ed.2d 312 (2004)), recognized that two

 elements are required for complete preemption: 1) the plaintiff must have been able to bring its

 claim under ERISA § 502(a); and (2) there can be no other legal duty that supports the plaintiff's

 claim. See also Conn. State Dental Ass'n., 591 F.3d at 1345. In this case, neither prong of the

 Davila test is satisfied.

         The first prong of the Davila test is not satisfied in this case because Lee Memorial brings

this action in its independent capacity as a third party health care provider and not in a derivative

capacity as an assignee of a health plan beneficiary:

            First, healthcare provider claims are usually not subject to complete
            preemption because "[h]ealthcare providers ... generally are not considered
            `beneficiaries' or 'participants' under ERISA." Hobbs v. Blue Cross Blue
            Shield of Ala., 276 F.3d 1236, 1241 (11th Cir. 2001) (citing Cagle v.
            Bruner, 112 F.3d 1510, 1514 (11th Cir. 1997)); see also Pascack Valley
            Hosp. {, Inc. v. Local 464A UFCW Welfare Reimbursement Plan,] 388 F.3d
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             [393,] 400 [ (3rd Cir. 2004) ("We conclude that the Hospital could not
             have brought its claims under § 502(a) because the Hospital does not have
             standing to sue under that statute."); In re Managed Care Litig., 298 F.
             Supp.2d 1259 (S.D. Fla. 2003) (noting that only two categories of
             individuals—participants and beneficiaries—are authorized to sue for
             benefits under § 502(a)(1)(B)).

 Mitchell-Hollingsworth Nursing & Rehabilitation Ctr., LLC v. Blue Cross Blue Shield of Mich.,

 919 F.Supp. 2d 1209, 1217 (N.D. Ala. 2013) (emphasis in original) (citing Conn. State Dental,

 591 F.3d at 1346 —1347.

           In this case, Lee Memorial, a medical provider, is unable to bring its claim under ERISA

 § 502(a) because it does not have a written assignment of ERISA benefits. In the absence of an

 assignment, "ERISA only provides a cause of action for plan participants and beneficiaries." See

 McLachlan v. La. Health and Indem. Co., No. CIV.A. 02-0424, 2002 WL 1461885, at *2 (RD.

La. July 3, 2002); Variety Children's Hosp., Inc. v. Blue Cross/Blue Shield of Fla., 942 F. Supp.

562, 567 (S.D.FIa. 1996) (holding that, as to a claim based upon promissory estoppel brought by

a hospital in its independent status as a third-party healthcare provider and not as an assignee of

ERISA benefits, preemption "would stretch the 'connected with or related to' standard too far.")

Eleventh Circuit law has been consistently interpreted as "unequivocally requiring a written

assignment of ERISA benefits" in order for a health care provider to have standing to pursue a

claim under ERISA. See Riverside Med. Assocs., 2006 WL 3827541, at *2. See also Hobbs, 276

at 1241.

        In an apparent attempt to clear such a hurdle, the defendants have filed with the Court an

affidavit stating that the electronic claim folin submitted by Lee Memorial in this instance was

coded in a manner that was consistent with that of a provider having an assignment of benefits.

Regardless of the appearance of the claim form, a claim form is not an assignment of benefits,

and Lee Memorial has filed with the Court the affidavit of the director of its business office
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 attesting to the fact that, based upon a diligent investigation, it has been determined that an

 assignment of benefits was never obtained by Lee Memorial. See O'Brien Aff. at ¶10. In a

 similar case, the Southern District of Florida flatly rejected a health plan's attempt to utilize a

 claim form in order to prove that the plaintiff, a medical provider, had obtained an assignment of

 ERISA benefits and, therefore, had standing to bring a derivative claim under ERISA. See

 Riverside Med. Assocs., 2006 WL 3827541, at *2. That court reasoned that "the Court must give

 Plaintiff the benefit of the doubt as to whether these forms can be considered assignments of

 benefits from the patients to Plaintiff, particularly where Defendant bears the burden of showing

 federal subject matter jurisdiction upon removal." Id. The argument of the defendants is even

 less compelling here in that, in this case, unlike Riverside Med., the record includes an affidavit

 from the medical provider confirming that no assignment exists.

        Even if the defendants had succeeded in meeting their burden of showing that Lee

 Memorial had an assignment of ERISA benefits, which clearly is not the case here, the mere

 acceptance of an assignment of benefits by a provider does not equate to a forfeiture of the

 provider's claims arising independently of the agreement. Id. See also Lordman, Ent., Inc. v.

 Equicor, Inc., 32 F.3d 1529 (11th Cir. 1994); Mitchell-Hollingsworth Nursing & Rehabilitation

 Ctr., LLC, 919 F. Supp. 2d at 1217 (citing Franciscan Skemp Healthcare, Inc. v. Cent. States

 Joint Bd. Health and Welfare Trust Fund, 538 F.3d 594, 597 (7th Cir. 2008)). Claims that arise

 either out of the provider's independent agreement with the defendant or out of independent

 actions undertaken by the defendant are not preempted even if the provider has obtained an

 assignment of ERISA benefits. Id. In the case at bar, Lee Memorial's claims are based upon

 independent legal duties arising under the Agreement and Florida law that were breached by the

 defendants and do not depend upon an assignment from the defendants' policy holder.
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         Likewise, the second prong of the Davila test is not satisfied in this case in that, as noted

 above, a legal duty independent of ERISA supports Lee Memorial's claims:

             [H]ealthcare provider claims are usually not subject to complete preemption
             because... such claims often are not the type of claims that could be brought
             under § 502(a) because they do not "duplicate[ ], supplement [ ], or supplant
             [ ] the ERISA civil enforcement remedy." Davila, 542 U.S. at 209, 124
             S.Ct. at 2495. For example, a healthcare provider's claims of negligent
             misrepresentation and estoppel based on a plan's oral misrepresentations
             are not ERISA claims because they do not arise from the plan or its terms.
             Franciscan Skemp [Healthcare, Inc. v. Central States Joint Board Health
             and Welfare Trust Fund ], 538 F.3d [594,] 597 [ (7th Cir.2008) ].

 Mitchell-Hollingsworth Nursing & Rehabilitation Ctr., LLC at 1217 (emphasis in original) (also

 citing Conn. State Dental, 591 F.3d at 1346 - 1347 in granting motion for remand of state claims

 based on breach of express contract, breach of implied contract, negligence/wantonness,

 fraud/misrepresentation/suppression of material facts, promissory fraud, equitable/promissory

 estoppel, quantum meruit, unjust enrichment, conspiracy and conversion).

        "Both the Seventh Circuit and the Eleventh Circuit acknowledge that the nature of the

 claims pled in the plaintiff's complaint controls the ERISA pre-emption analysis... " Mitchell-

 Hollingsworth Nursing & Rehabilitation Ctr., LLC, 919 F.Supp.2d at 1220. In this case, the

 causes of action that have been pled consist of: declaratory relief under the Agreement and

 amendments thereto; breach of contract; promissory/equitable estoppel; negligent misrepre-

 sentation; breach of fiduciary duty under the Agreement; unjust enrichment; and breach of the

 implied covenant of good faith and fair dealing. The foregoing claims arise out of legal duties

 imposed by the Agreement and Florida law and not from the beneficiary's health plan or ERISA

 § 502(a).

        The complaint in this case clearly alleges actions under state law which are independent

 of ERISA.
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         [W]here [, as here,] state law causes of action make no reference to ERISA and
         function irrespective of federal statute, they will not be preempted. Hiller v.
         Wachovia Corp., 2008 WL 4938424, at *1 (S.D.Fla. Nov. 18, 2008). As the
         Eleventh Circuit has observed, "the mere existence of an ERISA plan is not
         enough for preemption." Id. (quoting Forbus v. Sears Roebuck & Co., 30 F.3d
         1402, 1405 (11th Cir.1994)).

 Sheridan Healthcorp, 2016 WL 490264, at *6. In this case, Lee Memorial seeks an award of

 damages based upon its state law causes of action and does not seek a judicial determination of

 its "right to payment" under an ERISA benefits plan.           Mitchell-Hollingsworth Nursing &

 Rehabilitation Ctr., LLC, 919 F.Supp.2d at 1221. See Franciscan Skemp Healthcare, Inc., 538

 F.3d at 598 (the plaintiff's mention of 'covered services' in...[the] complaint does not convert its

 breach of contract claim into one for denial of plan benefits"). The defendants have simply

 failed in their burden of establishing complete preemption in this case. See Sheridan Healthcorp,

 2016 WL 490264, at *6 (breach of contract and declaratory relief); Lamonica v. Brown Nursing

 Home, LLC, No. 3:15cv326-SRW, 2015 WL 9008449, at *6 (M.D. Ala. Dec. 15, 2015)

 (misrepresentation and others); S. Fla. Ear, Nose and Throat, 2013 WL 6332968, at *2 (breach

 of contract); Miami Beach Cosmetic, 947 F. Supp. 2d at 1379 (breach of contract); Mitchell-

 Hollingsworth Nursing & Rehabilitation Ctr., 919 F. Supp. 2d at 1209 (breach of express

 contract, negligence/wantonness, fraud/misrepresentation/suppression of material facts,

 equitable/promissory estoppel, and unjust enrichment, among others); Tulsa Specialty Hosp.,

 LLC v. Boilermakers Nat'l Health & Welfare Fund, No. 12-CV-252-GKF-FHM, 2012 WL

 2887513, at *4 (N.D. Okla. July 13, 2012) (misrepresentation).

                                            Conclusion

        Inasmuch as this case is not preempted by ERISA, 29 U.S.C. § 1001 et seq., and does not

 involve a federal question under 28 U.S.C. § 1331, this case should be remanded in its entirety to
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  the Circuit Court of the Twentieth Judicial Circuit in and for Lee County, Florida, where the

 action was originally filed as Case No. 2016-CA-001878.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of October, 2016, I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system which will send notice of

 electronic filing to the following: Daniel Alter, Esq., Gray Robinson, P.A, 401 East Las Olas

 Boulevard, Suite 1000, Fort Lauderdale, FL 33301 at dan.alter cr grav-robinson.com.
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